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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW HAMPSHIRE


                                              )
In re:                                        )
                                              )             Chapter 11
Sky-Skan Incorporated,                        )             Case No. 17-11540-BAH
                                              )
               Debtor.                        )
                                              )


                                    NOTICE OF HEARING


Please take notice that a hearing will be held:


DATE:                  December 14, 2017
TIME:                  9:30 a.m.
LOCATION:              Warren B. Rudman United States Courthouse, 55 Pleasant Street,
                       Concord, New Hampshire 03301, Courtroom A



To consider and act upon the following:
         1.            Motion to Dismiss Debtor’s Chapter 11 Case or for the Appointment of a
                       Chapter 11 Trustee



Last day for objections: December 7, 2017


                                                      /s/ Peter Antonelli
                                                      Peter Antonelli
                                                      BNH07641
                                                      Curran Antonelli, LLP
                                                      260 Franklin Street
                                                      Boston, MA 02110
                                                      Phone: (617) 207-8670
                                                      Facsimile: (857) 233-4716
Dated: November 16, 2017                              pantonelli@curranantonelli.com


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                                 CERTIFICATE OF SERVICE
        I, Peter Antonelli, certify that on the date set forth below, I have caused a copy of the
foregoing Notice of Hearing together with the Motion to Dismiss Debtor’s Chapter 11 Case or
for the Appointment of a Chapter 11 Trustee to all parties who have filed appearances in this
case via the Court’s electronic filing system and via first-class mail to the Debtor’s twenty (20)
largest unsecured creditors.


Dated: November 16, 2017                                     /s/ Peter Antonelli
                                                             Peter Antonelli




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